Case: 1:17-md-02804-DAP Doc #: 1964-86 Filed: 07/23/19 1 of 13. PageID #: 166443




                               EXHIBIT 298
      Case: 1:17-md-02804-DAP Doc #: 1964-86 Filed: 07/23/19 2 of 13. PageID #: 166444




                               SETTLEMENT AND RELEASE AGREEMENT


                This Settlement and Release Agreement ("Agreement") is entered into on this 22m1 day of
         June, 2007, by and between the United States Department of Justice Drug Enforcement
         Administration (hereinafter the "DEA") and AmerisourceBergen Drug Corporation (hereinafter
         "Amerisourccbergen") (each a "Party" and collectively the "Parties").

                                                APPLICABILITY

                  The Agreement shall be applicable to the AmerisourceBergen drug distribution centers
         listed in Exhibit A and ArnerisourceBergen's subsidiary, J.M. Blanco, Inc., registered in
         Guaynabo, Puerto Rico.

                                                 BACKGROUND

                WHEREAS, on April 19, 2007, the DEA, by its Deputy Administrator, Michele M
         Leonhart, issued an Order to Show Cause and Immediate Suspension of Registration ("Order")
         to AmerisourceBergen, solely with respect to its Orlando distribution center located at 2100
         Directors Row, Orlando, Florida 32809 (the "Orlando Facility"); and

                 WHEREAS, the Order alleged, among other things, Amerisourcelsergen failed to
         maintain effective controls at the Orlando Facility against diversion of particular controlled
         substances into other than legitimate medical, scientific and industrial channels by sales to
         certain customers of AmerisourceBergen; and

                 WHEREAS, after service of the Order on Arnerisourcelsergen, on April 24, 2007,
         representatives of DEA and AmerisourceBergen entered into discussions on how best to resolve
         the issues raised in the Order; and

                WHEREAS, on April 27, 2007, the DEA and AmerisourceBergen entered into an Order
         of Special Dispensation and Agreement, allowing for limited distribution of controlled
         substances out of the Orlando Facility (the "Modified Order"); and

                WI IEREAS, the DEA and AmerisourceBergen desire to settle and resolve all outstanding
         claims and/or issues with respect to the Order and Modified Order, among other matters.

                NOW, Tl IEREFORE, in consideration of the mutual covenants and agreements
         contained herein, and for other good and valuable consideration, the receipt of which is hereby
         acknowledged, and intending to be legally bound hereby, the Parties hereto agree as follows:




                                                                                                           Exhibit:       005
                                                                                                           Amerisource Bergen
                                                                                                            ZIMMERMAN
                                                                                                           August 3, 2018
                                                                                                           Reporter: Amanda Miller. CRR




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                ABDCMDL00279854
       Case: 1:17-md-02804-DAP Doc #: 1964-86 Filed: 07/23/19 3 of 13. PageID #: 166445




                                                       I. General

                   l. Intention of Parties to Effect Settlement. In order to avoid the uncertainty and expense
          of litigation, the Parties agree to resolve this matter according to the Terms and Conditions
          below

                  2. No Admission or Concession. This Agreement is neither an admission of liahility by
          AmerisourceBergen nor a concession by the DEA that its claims in the Order and the Modified
          Order arc not well-founded, and AmerisourceBergen expressly denies the DEA 's allegations set
          forth in the Order and the Modified Order.

                  3. Covered Conduct. "Covered Conduct" shall mean (i) the conduct alleged in the Order
          and/or the Modified Order, (ii) the alleged failure of AmerisourceBergen to maintain adequate
          controls against diversion of controlled substances, on or prior to May 22, 2007, at the Orlando
          facility and all other distribution facilities controlled by AmerisourceBergen, with respect to all
          sales of Automation of Reports and Consolidated Orders System (''ARCOS")-reportable
          controlled substances, benzodiazepines and phenterrnine; and (iii) the alleged failure to detect
          and report suspicious orders of sales of the control led substances set forth in subsection 1(3 )(ii)
          of this Agreement, as required by 21 C.F.R. § 1301 74(b).


                                               rr. Terms and Conditions
                  l. Obligations of 6merisource8ergen.

                   (a) AmerisourceBergen agrees to maintain a compliance program designed to detect and
          prevent diversion of controlled substances, which shall apply to the Orlando Facility and all
          other existing and future distribution centers of Amerisourceliergen in the United States and its
          territories and possessions, which Arnerisourcelsergen shall revise as appropriate.

                   (b) Amerisourcelsergen shall: (i) provide to DEA Headquarters within two business days
          following the date of sale a report of all controlled substance transactions through Electronic
          Data Interchange in a format mutually and reasonably agreed upon by the Parties. This
          information will be based on raw sales data and is not reconciled in the manner that ARCOS data
          is reconciled; and (ii) inform DEA of suspicious orders as required by 21 C.F.R. § 1301.74(b) in
          a format mutually and reasonably agreed upon by the Parties, except that Arnerisourcelsergen
          shall inform DEA Headquarters of suspicious orders, unless and until advised otherwise in
          writing by DEA Headquarters. The obligations contained in this paragraph shall remain in full
          force and effect for a period of five (5) years from the Effective Date of this Agreement, and
          thereafter shall remain in full force and effect unless terminated and revoked by either party upon
          thirty (30) days written notice.

                 (c) A..ny material breach of subsections II(l)(a) or (b) of this Agreement by
          Arnerisourceflergen after DEA restores the Orlando facility's registration may be a basis upon
          which DEA can issue an Order to Show Cause seeking the revocation of the DEA certificate of




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CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                 ABDCMDL00279855
      Case: 1:17-md-02804-DAP Doc #: 1964-86 Filed: 07/23/19 4 of 13. PageID #: 166446




         registration associated with the Distribution Center whose conduct is related to the material
         breach of the agreement.

                 2. Obligations of DEA.

                 (a) The DEA shall continue to provide diversion prevention and awareness training, as
         practicable, to retail pharmacy industry members at Amerisourcelsergen trade shows and through
         written materials.

                 (h) The DEA agrees to accept at DEA Headquarters the information regarding suspicious
         orders as described in subsection II(l)(b)(ii) of this Agreement.

                 (c) On or before August 24, 2007, the DEA shall conduct reviews of the functionality of
         Amerisourcellergcn 's diversion compliance program ("Compliance Reviews") at up to five
         distribution centers of AmerisourceBergen, consisting of the distribution centers located in
         Orlando, Florida; Sugar Land, Texas; Williamston, Michigan; and two other distribution centers
         selected by the DEA, and shall also review the investigatory fi Jes of the customers serviced by
         the distribution centers subject to the Compliance Reviews that are maintained by
         AmerisourceBergen 's Corporate Security & Regulatory Affairs Department in Chesterhrook ,
          Pennsylvania. The DEA shall notify AmerisourceBergen no less than 48 hours prior to
          commencing a Compliance Review at a distribution center The DEA shall issue a Notice of
          Inspection to AmerisourceBergen upon commencement of a Compliance Review During the
          course of the Compliance Review, if requested, Amerisourccfsergen shall provide the DEA with
          information related to the sales from February 24, 2007, to the date of the Compliance Review
          by the particular distribution center being reviewed of ARCOS-reportable controlled substances,
          benzcdiazepine and phentermine. At the conclusion of each Compliance Review, the DEA shall
          conduct an exit interview with an appropriate AmerisourceBergen representative to provide
          DEA's preliminary conclusions regarding the Compliance Review The DEA may also conduct
          an additional Compliance Review of the Orlando Facility no later than November 24, 2007
          During the course of the Compliance Reviews of the Orlando Facility, Arnerisourcelsergen shall
          also provide the DEA with information related to the sales, from the date of this Agreement to
          the date of the Compliance Review of the Orlando Facility, of listed chemicals as defined at 21
          U.S.C. §§ 802(33), (34), & (35) and 21 C.F.R. §§ 1300.02(b)(l8) & (19). Notwithstanding the
          provisions of this paragraph, DEA retains the right to investigate any registered location as
          authorized by law.

                  (d) ny no later than 12:01 a.rn. on August 25, 2007, DEA shall dissolve the Order and the
          Modified Order and, if AmerisourceBergen files a renewal application on or before July 31,
          2007, DEA shall gram such application for renewal, unless the Compliance Reviews described in
          subsection Il(2)(c) of this Agreement are not deemed satisfactory by DEA. The Compliance
          Reviews will be deemed satisfactory unless DEA determines that one or more of the facilities
          being inspected has (i) failed to maintain effective controls against diversion regarding the
          distribution of any ARCOS-reportable controlled substance, phentermine, or any
          benzcdiazepines; (ii) failed to report to DEA suspicious orders of controlled substances; (iii)
          failed to meaningfully investigate new or existing customers regarding the customer's legitimate
          need to order or purchase controlled substances: (iv) failed to maintain effecti ve controls at the



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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                               ABDCMDL00279856
       Case: 1:17-md-02804-DAP Doc #: 1964-86 Filed: 07/23/19 5 of 13. PageID #: 166447

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         Orlando Facility regarding the distribution of listed chemicals as defined at 21 U.S.C. §§
         802(33), (34), & (35) and 21 C.F.R. §§ 1300.02(b)(l8) & (19); or (v) failed to report to DEA
         suspicious orders of listed chemicals as defined at 21 U .S.C. §§ 802(33 ), (34), & (35) and 21
         C.F.R. §§ I 300.02(b)( 18) & ( 19) at the Orlando Facility. The Compliance Reviews shall be
         deemed not satisfactory if DEA provides written notice with specificity to AmerisourceBergen
         on or before August 22, 2007, stating that Arnerisourceflergen failed to meet any of the
         requirements in either subsections II(2)(d)(i), (ii), or (iii) of this Agreement. DEA shall not find
         a Compliance Review "not satisfactory" unless the failure(s) are sufficient to provide DEA with
         a factual and legal basis for issuing an Order to Show Cause under 21 U.S.C. § 824(a) against
         one or more of the inspected facilities. In the event that DEA provides such written notice ofa
         Compliance Review Failureis), DEA shall meet and confer with AmerisourceBergen within 48
         hours regarding such a finding. The DEA shall consider remedial measures which
         Amerisourceflcrgcn has instituted since May 22, 2007, in determining whether the Compliance
         Reviews arc satisfactory. A finding of satisfactory docs not otherwise express DEA's approval
         of the compliance program implemented at any particular distribution center.

                 (c) Upon execution of this Agreement, DEA authorizes the Orlando Facility to distribute
         listed chemicals as defined at 21 U.S.C. §§ 802(33), (34), & (35) and 2 I C.F.R. §§
         I 300.02(b)( 18) & ( 19), notwithstanding the Order and Modified Order served upon the Orlando
         Facility.

                 (t) The Orlando Facility failed to file a renewal application for its DEA registration at
         least 45 days prior to the expiration of its current DEA registration. If AmerisourceBergen files
         a renewal application for the Orlando facility prior to July 31, 2007, the expiration date of its
         current DEA registration, DEA hereby extends the Orlando Facility registration up to and
         including August 24, 2007, unless otherwise extended. This extension of the registration is for
         the sole benefit of AmerisourceBergen to allow its Orlando Facility to operate under the
         Modified Order and terms of the Agreement during the Compliance Reviews described in
         subsection Il(2)(c) of this Agreement. If the Compliance Reviews are not satisfactory under the
         standard set forth in subsection II(2)(d) of this Agreement, the Orlando Facility's DEA
         registration shall expire on the date on which DEA provides written notice to
         AmerisourceBergen of the findings of the Compliance Reviews. Under such circumstances, the
         Orlando Facility's DEA registration shall expire on the date of said written notice due to
         AmerisourceBergen 's failure to submit a renewal application at least 45 days prior to the
         expiration of its current DEA registration as required by 21 C.F.R. § 130 l .36(i), notwithstanding
         the temporary extension of the its registration pursuant to this subsection.

                3. Joint Obligations of the Parties.

                (a) Arnerisourcelsergen and the DEA agree that:

                      (i) upon the execution of this Agreement, AmerisourceBergen shall file an
         unopposed motion to stay all further proceedings related to the Order until no earlier than August
         25, 2007;




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CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                 ABDCMDL00279857
      Case: 1:17-md-02804-DAP Doc #: 1964-86 Filed: 07/23/19 6 of 13. PageID #: 166448




                          (ii) upon the satisfactory completion of the Compliance Reviews described in
          subsections ll(3)(d) and (e) of this Agreement, the Immediate Suspension Order shall be
          rescinded and withdrawn by the DEA, and the DEA and AmerisourceBergen shall file and serve
          a Joint Motion to Terminate the Proceedings related to the Order to Show Cause as described in
          subsection lII(l 0) of this Agreement.

                  (b) DEA and AmerisourceBergen shall meet no less than annually at DEA Headquarters
          to discuss: (i) suggestions for improvements in AmerisourceBergen's compliance program to
          detect and prevent diversion of controlled substances; (ii) any concerns of the DEA related to the
          sales pattern of controlled substances by AmerisourceBergen; and (iii) any other issues of
          concern to either Party.

                  4. Release by the DEA. (i) ln consideration of the obligations of AmerisourceBergen
          under this Agreement, the DEA releases AmerisourceBergen, together with its officers, directors,
          employees, successors and assigns (collectively, the "Released Parties") from the claims set forth
          in the Order and/or the Modified Order, and from any claims that the DEA has or may have
          under any law, rule or regulation including, without limitation, Sections 303, 304 and 402 of the
          Act, 21 U.S.C. §§ 823,824 and 842, for the Covered Conduct. (ii) This release is applicable
          only to the Released Parties and is not applicable in any manner to any other individual,
          partnership, corporation, or entity. With the exception of the U.S. Attorney's office in and for
          the Middle District of Florida with respect to potential civil proceedings regarding the Orlando
          Facility, the DEA represents and warrants that it has not previously referred and agrees not to
          refer the Covered Conduct for further administrative, civil or criminal proceedings to the
          Department of Justice, any United States Attorney's Office, any attorney general or any other
          law enforcement, administrative, or regulatory agency of the United States or any State thereof.
           (iii) Notwithstanding the release by DEA contained in paragraph II(4) of this Agreement, DEA
          may seek to admit evidence of the Covered Conduct for other proper evidenriary purposes in an
          Administrative Proceeding concerning non-Covered Conduct. Nothing in paragraph II(4) shall
          prohibit any other agency within the Department of Justice, any United States Attorney's Office,
          any attorney general, or any other law enforcement, administrative, or regulatory agency of the
          United States or any State thereof, from initiating administrative, civil, or criminal proceedings
          with respect to the Covered Conduct. DEA may, and shall as obligated in fulfilling its statutory
          duties, assist and cooperate with any other agency within the Department of Justice, any United
          States Attorney's Office, any attorney general, or any other law enforcement, administrative, or
          regulatory agency of the United States or any State thereof, that initiates an investigation, action,
          or proceeding involving the Covered Conduct.

                  5. Release by AmerisourceBergen. With the exception of the U.S. Attorney's office in
          and for the Middle District of Florida with respect to potential civil proceedings regarding the
          Orlando Facility, AmerisourceBergen fully and finally releases the United States, its agencies,
          employees, servants, and agents from any claims (including attorney's fees, costs, and expenses
          of every kind and however denominated) which AmerisourceBergen has asserted, could have
          asserted, or may assert in the future against the United States, its agencies, employees, servants,
          and agents, related to the Covered Conduct and the United States' investigation and prosecution
          thereof




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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                ABDCMDL00279858
       Case: 1:17-md-02804-DAP Doc #: 1964-86 Filed: 07/23/19 7 of 13. PageID #: 166449




                   6. Reservation of Claims. Notwithstanding any term of this Agreement, specifically
           reserved and excluded from the scope and terms of this Agreement as to any entity or person
           (including AmerisourceBergen) are the following:

                   (a) Any civil, criminal or administrative liahility arising under Title 26, U.S. Code
           (Internal Revenue Code);

                 (b) Any liability to the United States (or its agencies) for any conduct other than the
           Covered Conduct subject to paragraph 11(4) of this Agreement; or

                  (c) Any liability based upon such obligations as are created by this Agreement.


                                                   111. Miscellaneous

                   l. Binding on Successors. This Agreement is binding on AmerisourceBergen, and its
           respective successors, heirs, transferees, and assigns.

                  2. Costs. Each Party to this Agreement shall bear its own legal and other costs incurred
           in connection with this matter, including the preparation and performance of this Agreement.

                   3. No Additional Releases. This Agreement is intended to be for the benefit of the
           Parties and the Released Parties only, and by this instrument the Parties do not release any claims
           against any other person or entity other than the Released Parties.

                   4. Effect of Agreement. This Agreement constitutes the complete agreement between
           the Parties. A I l material representations, understandings, and promises of the Parties arc
           contained in this Agreement, and each of the parties expressly agrees and acknowledges that,
           other than those statements expressly set forth in this Agreement, it is not relying on any
           statement, whether oral or written, of any person or entity with respect to its entry into this
           Agreement or to the consummation of the transactions contemplated by this Agreement. Any
           modifications to this Agreement shall be set forth in writing and signed by all Parties.
           AmerisourceBergen represents that this Agreement is entered into with advice of counsel and
           knowledge of the events described herein. AmerisourceBergen further represents that this
           Agreement is voluntarily entered into in order to avoid litigation, without any degree of duress or
           compulsion.

                  5. Execution of Agreement. This Agreement shall become effective (i&., final and
           binding) upon the date of signing by the last signatory (the "Effective Date").

                 6. Disclosure. AmerisourceBergen and the DEA may each disclose the existence of this
           Agreement and information about this Agreement to the public without restriction.

                  7 ~xec_ution in CountenJarts. This Agreement may be executed in counterparts, each of
           which constitutes an original, and all of which shall constitute one and the same agreement.




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r.ONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                 ABDCMDL00279859
      Case: 1:17-md-02804-DAP Doc #: 1964-86 Filed: 07/23/19 8 of 13. PageID #: 166450




                 8. Authorizations. The individuals signing this Agreement on behalf of
          AmerisourceBergen represent and warrant that they are authorized by AmerisourceBergen to
          execute this Agreement. The individuals signing this Agreement on behalf of the DEA represent
          and warrant that they are signing this Agreement in their official capacities and that they are
          authorized to execute this Agreement.

                 9. Choice of Law and Venue. This Settlement Agreement and Release shall be
          construed in accordance with the laws of the United States. The Parties agree that the jurisdiction
          and venue for any dispute arising between and among the Parties under subsections Il(2)(a-d) of
          this Agreement will be the United States District Court or, as appropriate, in the Cou11 of Federal
          Claims, in which the AmerisourceBergen distribution facility(s) at issue is located. This
          provision, however, shall not be construed as a waiver of the jurisdictional provisions of the
          Controlled Substances Act.

                 10. Joint Motion to Terminate Proceedings. Upon the satisfactory completion of the
          Compliance Reviews, and no later than August 27, 2007, the DEA and AmerisourceBergen shall
          promptly sign and file with the Administrative Law Judge, Drug Enforcement Administration a
          Joint Motion to Terminate Proceedings related to the Order to Show Cause.

                  11 Change in Law or Regulation. In the event that a change in law or regulation would
          impose fewer or Jess onerous diversion control procedures on other wholesalers or distributors of
          controlled substances and listed chemicals, the DEA agrees to meet with AmerisourceBergen to
          discuss possible modifications to the requirements under this Agreement.

                   12. Acquisition or Business Combination. AmerisourceBergen may, in the event of an
          acquisition or other business combination of another drug distributor/wholesalcrfs), integrate that
          distributor/wholcsaler(s) into the Arnerisourcelsergcn compliance program referenced in
          subsection IT( I )(a) of this Agreement. Notwithstanding integration into AmerisourceBergen 's
          compliance program, any specific limitations or restrictions that DEA has placed upon the drug
          distributor/wholesaler(s) or upon its/their DEA registration(s) shall remain in full force and
          effect, unless modified in writing by DEA. Requests for modification of any such restriction or
          agreement shall be submitted by AmerisourceBergen to DEA Headquarters, Office of Diversion
          Control. This provision, however, does not otherwise express DEA 's approval of the compliance
          program implemented by AmerisourceBergen.


                                   [Remainder of this page left intentionally blank.]




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CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                  ABDCMDL00279860
       Case: 1:17-md-02804-DAP Doc #: 1964-86 Filed: 07/23/19 9 of 13. PageID #: 166451
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                 IN WITNESS WHEREOF, the Parties hereto have duly executed this Settlement and
          Release Agreement as of the date written above.

          AMERlSOURCEBERGEN DRlJG CORPORATION



          B{'~_:f:~ ~:-~
                  Terrance P Haas
                  President, AmerisourceBergen Drug Corporation




                   ohn G. Chou
                   enior ice President, General Counsel and ~crelary. Amerisourcefiergen Drug
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          Dated: June.2 '2..., 2007




          THE lJNITED STATES DEPARTMENT OF JUSTICE
          DRUG ENFORCEMENT ADMINISTRATION




                  Deputy Admini ator
                  Drug Enforcement Administration




                  Drug Enforcement Administration




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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                       ABDCMDL00279861
      Case: 1:17-md-02804-DAP Doc #: 1964-86 Filed: 07/23/19 10 of 13. PageID #: 166452




                                   EXHIBIT A
                                             (3 pages)




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                    ABDCMDL00279862
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                    THOROFARE, NJ 08086
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                    2100 DIRECT ORS ROW
                    ORLA NDO , FL 32609
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                   SUGAR LAND, TX 77478
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    RA 0290522     AIA:RIS OURCEB ERGEN DR UG CO RP    JUL-31-2007
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                   ST LOUIS, M'.) 63114
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    RA 0290724     AlvERIS OURCffi ERGEN DRUG CORP     JUL-31-2007
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                  Wl.LIAMS TON, Ml 48895
                                                                     JUN-12-2006            SEP-30-2005    2 3 3N 4 5
    RA 0290837    A lvffilS OURCEB ERG8'J DRUG CORP    JUL-31-2007
                  1825 S. 43RD AVE. STE B
                  PHOENIX, AZ 85009
                                                                     jLJN-12-2006           SEP-07-2004    2 3 3N 4 5
    RA 0290938    A~ OURCEB ERGEN DRUG CORP            JUL-31-2007
                  19220 6411-i AV 8'JUE SOLJTH
                  KENT , WA 98032

    RA 0290988    A '-'ERIS OURCEB ERGEN DRUG CO RP    JUL-31-2007   JUN-12-2006            SEP-30-2005    2 3 3N 4 5            n:::
                  SOi WEST 44TH AVE                                                                                              w
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                  DENV ER. CO 80216                                                                                              n:::
    RA 0291170    A r..ER ISOURCEB ERGEN tR UG CO RP   JUL-31-2007   JUN-12-2006            SEP- 07-2004   2 3 3N 4 5            0
                  1085 N. SA TEL L/TE BLVD                                                                                       w
                  SLJW ANEE. GA 30024
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    RA 0310603    A "'1:RIS OURCEB ERGEN DR UG CO RP   JUL-31-2007   JUN- 12-2006           SEP-30-2005                          0
                  1325 WEST STRIK ER AVE
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                  SACAA IYENT O, CA 95834                                                                                        0
    RA 0314562                                         JUL-31-2007   JUN-12-2006            SEP- 30-2005   22N33N45              n:::
                  Afvffil.5 0~CcB ERGEN DRUG (X) RP                                                                              n...
                  6305 LASA LLE OR
                  LOCK BOURl'E. OH43137
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    RA.0316958    A M:RJ SOUR CE BffiGEN DRUG          JUL-31-2007   JUN-12-2006            SEP- 30-2005   2 3 3N 4 5            I-
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                                                     OFFICE OF DIVERSION CONTROL                                                        u
                                                  CONTROLLED SUBSTANCES ACT SYSTEM                                                      0
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DEA Number    Name I Addrus                     Expiration      last Renewal   Admln   Admln                  Drug
                                                Date            Date           Code    Date                   Schedules
RA0322624     MiERISOURCEB ERG8'1 DRUG,         JUL-31·2007     JUN-12-2006            SEP-30-2005             2 2N 3 3N 4 5
              CORPORAIDN
              1001 WESTTAYLORROAO
              ROM:O VII.LE, IL 6044 6
RA0326276     A~ OURCEB ERGEN DRUG,             JUL-31·2007     JUN-12-2006            SEP-30-2005             2 3 3N 4 5
              COAAJRATION
              11200 NORrn CONGRES S AVENUE
              KANSAS CfTY , MO 64153
RA0336924     AM3W OURCEB ERGEN DRUG CORP.      JUL-31-2007     JUN-12-2006                                    2 2N 3 3N 4 5
              5100 JAINDL BLVD.
              BETHL EHEM, PA 18017
RBJ 161733    Atv'ERIS OURCEBERGEN E*<UG CORP   JLA..-31-2007   JUN-12-2006            SEP-30-2005            2 3 3N 4 5
              6810 SHADY. OAK RD
              EDEN FRARE. 1..+155344
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